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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
                                                                   Case No.        2:19-CV-326-SAB
  YUKI LEE, in her capacity as personal
  representative of the Estate of her deceased
  husband, JOOCHAN LEE, individually and                           CIVIL MINUTES
  Decedent’s surviving wife, and in her capacity                   DATE:           NOVEMBER 16, 2021
  as Guardian of their minor daughter, A.L. both
  as beneficiaries and heirs of Decedent’s estate,
                                                                   LOCATION: BY TELEPHONE
                          Plaintiffs,
                                                                   INFORMAL DISCOVERY
        -vs-                                                       CONFERENCE HEARING

  THE MOODY BIBLE INSTITUTE OF CHICAGO,
  and Illinois corporation,

                          Defendant.




                                        Chief Judge Stanley A. Bastian
          Michelle Fox                                  02                                 Not Reported
      Courtroom Deputy                               Law Clerk                            Court Reporter

                                                                             Nicholas Ajello
                    Anthony Marsh
                                                                           Christopher Raistrick


                  Plaintiff’s Counsel                                      Defendants’ Counsel
       [ ] Open Court                         [ ] Chambers                          [ X ] Telecon/Video

Court addresses counsel and have reviewed the email submittals provided by the parties. Court outlines the
procedures since COVID started.

A. Marsh presents argument. Requesting a video deposition. Plaintiff is uncomfortable proceeding in person.
C. Raistrick presents argument. Requesting it be in person because it is the Plaintiff.
Court authorizes the deposition be held by Video.


[ ] ORDER FORTHCOMING

 CONVENED: 11:00 A.M.            ADJOURNED: 11:08 A.M.           TIME: 08 MIN.            CALENDARED       [ X ]
